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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


LAS AMERICAS IMMIGRANT ADVOCACY
CENTER, et al.,

Plaintiffs–Petitioners,
                                                               Case No: 1:25-cv-00418
                             v.

KRISTI NOEM, Secretary of the U.S. Department of
Homeland Security, in her official capacity, et al.,

Defendants–Respondents.


        PLAINTIFFS’ RESPONSE TO DEFENDANTS’ NOTICE OF REMOVAL

       Late last night, February 20, 2025, the government filed a Notice advising the Court and

Plaintiffs that very shortly after it filed its opposition to Plaintiff’s Motion for Temporary

Restraining Order (TRO), it removed all of the immigrant detainees from Guantánamo. See ECF

No. 15. The government also stated that, in its view, a TRO seeking access to detainees was no

longer necessary given that there are no detainees at Guantánamo now. The government’s

Notice did not state that it would cease sending other detainees to Guantánamo from the United

States. See ECF Nos. 15, 15-1.

       In light of the government’s claim that a TRO is no longer necessary because the

immigrant detainees have all been moved from Guantánamo, Plaintiffs contacted counsel for

Defendants to ask whether the government would be willing to provide Plaintiffs with 72 hours’

notice before sending any more detainees from the United States to Guantánamo. Plaintiffs’

concern is that Defendants could otherwise send more detainees to Guantánamo today or at any

time in the future after Plaintiffs withdrew their TRO request. Defendants have responded that at

this time they cannot agree to provide any notice.


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       Accordingly, Plaintiffs will file their reply brief Monday, February 25, 2025, as

scheduled, and will continue to seek a TRO. Plaintiffs, however, remain open to withdrawing

their TRO request if the government would reconsider its refusal to provide a 72-hour notice

period before transferring any more immigrant detainees from the United States to Guantánamo.




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Dated: February 21, 2025                  Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on February 21, 2025, I electronically filed the foregoing with the

Clerk of the Court for the United States District Court for the District of Columbia by using the

CM/ECF system. I certify that all participants in the case are registered CM/ECF users and that

service will be accomplished by the CM/ECF system.

 Dated: February 21, 2025                           Respectfully Submitted,

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